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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON
                                    EUGENE DIVISION

   Elizabeth HUNTER; et al., on behalf of               )
   themselves and all others similarly situated,        )
                                                        )      Civil Action No. 6:21-cv-00474-
                                 Plaintiffs,            )      AA
                     v.                                 )
                                                        )      DECLARATION OF JOURNEY
    U.S. DEPARTMENT OF EDUCATION and                    )      MUELLER
    Suzanne GOLDBERG, in her official capacity as       )
    Acting Assistant Secretary for Civil Rights,        )
    U.S. Department of Education,                       )
                                                        )
                                 Defendants.            )




       I, Journey Mueller, declare:
       1.      I am over 18 years of age and have personal knowledge of the matters stated in

this declaration and would testify truthfully to them if called upon to do so.

       2.      I am a resident of Longmont, Colorado, located in Boulder County.

       3.      Between August 2017 and April 2018, I was a student at Colorado Christian

University in Lakewood, Colorado (hereinafter "CCU").

       4.      While attending CCU, I received Federal Financial Aid, including student loans

and scholarships.

       5.      I am continuing to pay off the student loans for my education at CCU.

       6.      I attended CCU because of family ties and because CCU offered me a

scholarship.

        7.     CCU's student handbook contains a lifestyle covenant outlining rules of behavior

for students. This covenant requires students to commit to "mutual accountability" by reporting




1 DECLARATION OF JOURNEY MUELLER
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